       Case 6:21-cv-00491-ADA-DTG Document 23 Filed 08/02/22 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


JULIA BONNEWITZ,                               §
            Plaintiff                          §
                                               §                W-21-CV-00491-ADA
-vs-                                           §
                                               §
BAYLOR UNIVERSITY,                             §
            Defendant                          §
                                               §


                         ORDER ADOPTING MAGISTRATE
                     JUDGE’S REPORT AND RECOMMENDATION
       Before the Court is the Report and Recommendation of United States Magistrate Judge

Derek T. Gilliland. ECF No. 20. The Report recommends that this Court grant Defendant’s

Motion to Dismiss without prejudice with leave to amend the complaint within fourteen days of

an order granting Defendant’s motion and dismissing the Amended Complaint. The Report and

Recommendation was filed on July 12, 2022.

       A party may file specific, written objections to the proposed findings and

recommendations of the magistrate judge within fourteen days after being served with a copy of

the report and recommendation, thereby securing de novo review by the district court. 28 U.S.C.

§ 636(b); Fed. R. Civ. P. 72(b). A district court need not consider “[f]rivolous, conclusive, or

general objections.” Battle v. U.S. Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987) (quoting

Nettles v. Wainwright, 677 F.2d 404, 410 n.8 (5th Cir. 1982) (en banc), overruled on other

grounds by Douglass v. United States Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996)).

       Plaintiff filed objections on July 25, 2022. ECF No. 21. The Court has conducted a de

novo review of the motion to dismiss, the report and recommendation, the objections to the




                                               1
      Case 6:21-cv-00491-ADA-DTG Document 23 Filed 08/02/22 Page 2 of 2




report and recommendation, and the applicable laws. After that thorough review, the Court is

persuaded that the Magistrate Judge’s findings and recommendation should be adopted.

       IT IS THEREFORE ORDERED that the Report and Recommendation of United

States Magistrate Judge Gilliland, ECF No. 20, is ADOPTED.

       IT IS FURTHER ORDERED that Plaintiff’s objections are OVERRULED.

       IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss (ECF No. 7) is

GRANTED in accordance with the Report and Recommendation.

SIGNED this 2nd day of August, 2022.




                                   ALAN D ALBRIGHT
                                   UNITED STATES DISTRICT JUDGE




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